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                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION




UNITED STATES OF AMERICA

vs.                                    NO. 4:08CR000290-003 SWW

MAISHA A. LAND


                                       ORDER

      The above entitled cause came on for hearing on June 23, 2011 on

government’s petition [doc #131] to revoke the probation previously

granted this defendant in the United States District Court for the

Eastern District of Arkansas.       Based upon the statements of defendant,

the Court found that defendant has violated the conditions of probation

without just cause.

      IT IS THEREFORE ORDERED AND ADJUDGED that the probation previously

granted this defendant, be, and it is hereby, REVOKED.

      IT IS FURTHER ORDERED that defendant is sentenced to TIME SERVED.

      There will be TWO (2) YEARS of supervised release to follow.                All

standard conditions of supervised release will apply.              In addition, the

defendant   will   be   subject   to   the   following   special     conditions   of

supervised release:

1. Defendant shall remain at Arkansas Cares and complete the SIX (6)
MONTH in-patient component of the program, then continue in the
transitional program until she successfully completes the program and is
discharged by Arkansas Cares.

2. Defendant shall be subject to drug testing and shall participate,
under the guidance and supervision of the U. S. Probation Officer, in a
substance abuse treatment program which may include testing, out-patient
counseling, and/or residential treatment. Further, defendant shall
abstain from the use of alcohol throughout the course of any treatment.
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3.   Defendant shall participate in mental health counseling under the
guidance and supervision of the U.S. Probation Office.

4.   Defendant shall disclose financial information upon request of the
U.S. Probation Office, including, but not limited to, loans, lines of
credit, and tax returns. This also includes records of any business with
which defendant is associated.      No new lines of credit shall be
established without prior approval of the U.S. Probation Office until all
criminal penalties have been satisfied.

5.   Defendant shall not obtain employment at an institution insured by
     the
FDIC or at a Federal Credit Union.

6.   The defendant’s progress will be assessed every 90 days during the
period of time that defendant resides at Arkansas Cares.

7. Defendant will be allowed to discontinue restitution payments during
the in-patient component at Arkansas Cares. The restitution payments will
resume at FIFTY (50) DOLLARS A MONTH when defendant enters the component
of the program at Arkansas Cares when defendant retains employment. The
interest requirement is waived.

     The status hearing in this matter hereby is scheduled at 10:00 a.m.
on FRIDAY, SEPTEMBER 23, 2011, in Room #1D, Richard Sheppard Arnold
United States Courthouse, Little Rock, Arkansas.

     IT IS SO ORDERED this 28th day of June 2011.



                                       /s/Susan Webber Wright

                                       United States District Judge
